Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.596 Filed 03/31/15 Page 1 of 7

EXHIBIT A
Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.597 Filed 03/31/15 Page 2 of 7

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATALIE REESER,
Plaintiff, Hon. George Caram Steeh
Case No: 2:14-cv-11916
V.
HENRY FORD HOSPITAL,
Defendant.
MILLER COHEN, P.L.C. VARNUM LLP
Keith D. Flynn (P74192) Terrence J. Miglio (P30541)
Attorney for Plaintiff Barbara E. Buchanan (P55084)
600 W. Lafayette Blvd., 4th Floor Attorneys for Defendant
Detroit, MI 48226 39500 High Pointe Blvd., Ste. 350
313-964-4454 Novi, MI 48375
kflynn@millercohen.com 248-567-7828

tim@varnumlaw.com
beb@varnumlaw.com

DEFENDANT’S RULE 26(a)(1) ENITIAE DISCLOSURES

NOW COMES HENRY FORD HOSPITAL, (“Defendant”), by and
through its attorneys, VARNUM LLP, and states for its Initial Disclosures as
follows:

Pursuant to Fed.R.Civ.P. 26(a)(1):

SUBSECTION (A):

Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.598 Filed 03/31/15 Page 3 of 7

The name and, if known, the address and telephone number of each
individual likely to have discoverable information that the disclosing
party may use to support its claims or defenses, unless solely for
impeachment, identifying the subjects of the information;

RESPONSE:

The following persons, as well as other present and former employees who
have yet to be identified, are believed to have discoverable information concerning
Plaintiff's employment with Defendant including her job duties, performance, and
its policies, procedures, work rules, and business practices which governed her
employment, as well as facts and circumstances surrounding her termination. Each
of these individuals is a current or former management level employee of

Defendant and may be contacted only through counsel.

1, Maria Anger
Henry Ford Medical Laboratories
Henry Ford Health System
2799 W. Grand Blvd.
Detroit, Michigan 48202

2. Fiona Bork
Henry Ford Medical Laboratories
Henry Ford Health System
2799 W. Grand Bivd.
Detroit, Michigan 48202

3. Nawaal Elhaddi
Henry Ford Health System
2799 W. Grand Blvd.
Detroit, Michigan 48202
Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.599

10.

Alicia Estell

Henry Ford Medical Laboratories
Henry Ford Health System

2799 W. Grand Blvd.

Detroit, Michigan 48202

Luain Hajjar

Henry Ford Medical Laboratories
Henry Ford Health System

2799 W. Grand Blvd.

Detroit, Michigan 48202

Jill E. Hood, PHR

Henry Ford Health System
2799 W. Grand Blvd.
Detroit, Michigan 48202

Julisa Garcia

Henry Ford Medical Laboratories
Henry Ford Health System

2799 W. Grand Blvd.

Detroit, Michigan 48202

Kathy Oswald

Henry Ford Health System
One Ford Place

Detroit, Michigan 48202

Rebecca Pilarski

Henry Ford Health System
2799 W. Grand Blvd.
Detroit, Michigan 48202

Debra Temrowski
Henry Ford Health System
2799 W, Grand Blvd.

_ Detroit, Michigan 48202

Filed 03/31/15 Page 4 of 7
Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.600 Filed 03/31/15 Page 5 of 7

11. John Waugh
Henry Ford Health System
2799 W. Grand Blvd.
Detroit, Michigan 48202

12. Martha Wiseheart
Henry Ford Medical Laboratories
Henry Ford Health System
2799 W. Grand Blvd.
Detroit, Michigan 48202

SUBSECTION (B):

A copy of, or a description by category and location of, all documents,
data compilations and tangible things that are in the possession,
custody or control of the party and that the disclosing party may use to
support its claims or defenses, unless solely for impeachment;

RESPONSE:

1) Plaintiff Natalie Reeser’s personnel records with Defendant.

2) Employment policies and procedures of Defendant.

SUBSECTION (C):

A computation of any category of damages claimed by the disclosing
party, making available for inspection and copying as under Rule 34
the documents or other evidentiary material, not privileged or
protected from disclosure, on which such computation is based,
including materials bearing on the nature and extent of injuries
suffered;

RESPONSE:
Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.601 Filed 03/31/15 Page 6 of 7

This is not applicable to Defendant, as its position is that Plaintiff's
Complaint should be dismissed, with prejudice, and Plaintiff is not entitled to any

damages.

SUBSECTION (D):

For inspection and copying as under Rule 34 any insurance agreement
under which any person carrying on an insurance business may be
liable to satisfy part or all of a judgment which may be entered in the
action or to indemnify or reimburse for payments made to satisfy the
judgment;

RESPONSE:

None.

Respectfully submitted,

VARNUM LLP

Bl.

Terrence j/ V. Migli (P30541)
Barbara E. Buchanan (P55084)
Attorneys for Defendant

39500 High Pointe Blvd., Suite 350
Novi, MI 48385

248-567-7828
tjm@varnumlaw.com
beb@vamumlaw.com

Dated: August 21, 2014
Case 2:14-cv-11916-GCS-SDD ECF No. 30-2, PagelD.602 Filed 03/31/15 Page 7 of 7

CERTIFICATE OF SERVICE

I hereby certify that on the 21st day of August 2014, I served
Defendant's Rule 26(A)(1) Initial Disclosures and this Certificate of
Service upon:

Keith D. Flynn, Miller Cohen, P.L.C., 600 W. Lafayette Blvd.,
4th Floor, Detroit, MI 48226,

by placing said documents in an envelope with proper postage affixed
thereto and placing same in the U.S. Mail.

J oange E. Demers, ACP ,

8353203_1.DOCK
